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PROB 22
                                                                     DOCKET NUMBER (Tran. Court)
                                                                     2:16CR00303-002
      TRANSFER OF JURISDICTION
                                                                     DOCKET NUMBER (Rec. Court)
                                                                    20-cr-0131-RM
NAME OF PROBATION/SUPERVISED RELEASEE                            DISTRICT

                                                                 UTAH
Juan Carlos Cruz Mancha
                                                                 DIVISION

                                                                 CENTRAL
                                                                 NAME OF SENTENCING JUDGE

                                                                 Dale A. Kimball
                                                                 DATES OF          FROM             TO
                                                                 SUPERVISION       3/9/2020         3/8/2023
                                                                 TERM

OFFENSE

21 U.S.C. § 841(a)(1) – Possession of Methamphetamine with Intent to Distribute

PART 1 – ORDER TRANSFERRING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

IT IS HEREBY ORDERED that pursuant to 18 U.S.C.§3605 the jurisdiction of the defendant named above be
transferred with the records of the Court to the United States District Court for the District of Colorado upon that
Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
supervised release may be changed by the District Court to which this transfer is made without further inquiry of
this court.


           May 7, 2020                                    ___________________ _______
                                                                                   _______
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                                                                                           ____
                                                                                             ____
                                                          _______________________________________
                Date                                      Dale A
                                                               A. Kimball
                                                          Senior U.S. District Judge
PART 2 – ORDER ACCEPTING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO

IT IS HEREBY ORDERED that jurisdiction over the above-named defendant be accepted and assumed by this
Court from and after the entry of this order.

    5/8/2020
    _________________                                  ______________________________________________
       Effective Date                                            United States District Judge
